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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

      Plaintiffs,                                                  CIVIL ACTION NO.
                                                               3:21-cv-00259-DCG-JES-JVB
 v.                                                                     [Lead Case]

 GREG ABBOTT, in his official capacity as
 Governor of the State of Texas, et al.,

      Defendants.




                    NOTICE OF PLAINTIFFS’ FIRST WEEK WITNESS LIST

          Plaintiffs hereby jointly file the following list of witnesses expected to be called during the

first week of trial pursuant to the Court’s Pretrial Scheduling Order. See Dkt. 880 at 6. The parties

reserve the right to amend or supplement this list based on the progression of trial and any rulings

by the Court.


                    May 21                       State Representative Rafael Anchia

                                                 Domingo Garcia (Zoom request)

                                                 Candace Valenzuela

                                                 Salvador Espino

                                                 Cesar Espinosa
                    May 22                       Diana Martinez Alexander

                                                 Angelica Razo

                                                 Rogelio Saenz

                                                 Devan Allen
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               May 23                    Congresswoman Jasmine Crockett

                                         Jeff Travillion

                                         Leo Pacheco

                                         Ina Minjarez

                                         Kristian Carranza
               May 24 (Saturday)         JoAnn Acevedo (Zoom request)
               8:30 A.M. to 12:30 P.M.
                                         Joe Cardenas


Date: May 17, 2025                       Respectfully submitted,

                                         For LULAC Plaintiffs:

                                         /s/ Nina Perales
                                         Nina Perales
                                         Mexican American Legal Defense and
                                         Educational Fund (MALDEF)
                                         110 Broadway Street, Suite 300
                                         San Antonio, TX 78205
                                         (210) 224-5476
                                         nperales@maldef.org

                                         For Gonzales Plaintiffs:

                                         /s/ David R. Fox
                                         David R. Fox*
                                         Elias Law Group
                                         250 Massachusetts Ave. NW, Suite 400
                                         Washington, D.C. 20001
                                         (202) 968-4490
                                         dfox@elias.law

                                         For MALC Plaintiffs:

                                         /s/ George (Tex) Quesada
                                         George (Tex) Quesada
                                         Sommerman, Mcaffity, Quesada & Geisler, L.L.P.
                                         3811 Turtle Creek Boulevard, Suite 1400
                                         Dallas, Texas 75219-4461
                                         (214) 720-0720
                                         quesada@textrial.com


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                                             For Plaintiff Texas NAACP:

                                             /s/ Lindsey B. Cohan
                                             Lindsey B. Cohan
                                             Dechert LLP
                                             515 Congress Avenue, Suite 1400
                                             Austin, TX 78701
                                             (512) 394-3000
                                             lindsey.cohan@dechert.com

                                             For Brooks Plaintiffs:

                                             /s/ Chad W. Dunn
                                             Chad W. Dunn
                                             Brazil & Dunn
                                             1900 Pearl Street
                                             Austin, TX 78705
                                             (512) 717-9822
                                             chad@brazilanddunn.com

                                             For Plaintiff-Intervenors:

                                             /s/ Gary Bledsoe
                                             Gary Bledsoe
                                             The Bledsoe Law Firm PLLC
                                             6633 Highay 290 East #208
                                             Austin, TX78723
                                             (512) 322-992
                                             gbledsoe@thebledsoelawfirm.com


                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 17th day

of May 2025.

                                                    /s/ Nina Perales
                                                    Nina Perales




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